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          EXHIBIT 1 - COMPLAINT
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               SINGH, SINGH & TRAUBEN, LLP                                                   ORIGINAL FILED
           1                                                                              Superior Court of Californi a
               MICHAEL A. TRAUBEN (SBN: 277557)                                             County of Los Anoel (.. ~
           2
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           4   mtrauben@singhtraubenlaw.com
           5
               Attorneys for Plaintiff
           6
               SMOKESTACK LIGHTNING, LLC

           7                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

           8                          COUNTY OF LOS ANGELES - CENTRAL DISTRICT
           9
               SMOKESTACK LIGHTNING, LLC, a                ) [Unlimited Jurisdiction]
      10       California limited liability company,       )
                                                           ) Case No.:             Be 6 30711
      11                    Plaintiff,                     )
                                                           ) COMPLAINT for:
      12            v.                                     )
                                                           )    1. BREACH OF VERBAL AGREEMENT;
      13
               DANIEL QUINE AUERBACH, an individual, )          2. VIOLATIONS OF CAL. BUS. & PROF.
      14       Q PRIME, INC., a Tennessee corporation, and )        CODE § 17200 UNFAIR BUSINESS
               DOES 1-20 inclusive,                        )       PRACTICES;
      15                                                   )    3. BREACH OF THE COVENANT OF
                            Defendants.                    )        GOOD FAITH AND FAIRDEALING;
      16                                                   )       and
                                                           )    4. NEGLIGENT MISREPRESENTATION
      17
               -----------------------)
      18
                      Plaintiff Smokestack Lightning, LLC (" Smokestack Lightning" or "Plaintiff"), by and throug
      19
               its undersigned counsel, hereby files its Complaint against Defendants Daniel Quine Auerbac
      20
               ("Auerbach"), Q Prime, Inc. ("Q Prime") (collectively referenced as "Defendants") and DOES 1-2
      21
               inclusive, and, in support thereof, alleges as follows :
      22
                                                             THE PARTIES
      23
                      2.      Plaintiff Smokestack Lightning is a California limited liability company with it
      24
               principal place of business in Los Angeles County, California.
      25
                      3.      Plaintiff Smokestack Lightning was formed to develop and produce the motion picture
      26
               documentary entitled Smokestack Lightning: The Legendary Howlin' Wolf (the "Picture") regarding the
      27
               storied life of Chester Arthur Burnett p/k/a Howlin' Wolf ("Burnett"), a Chicago blues singer, guitaris
      28
               and harmonica player from Mississippi.
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Singh &
Trauben,
LLP                                                             COMPLAINT
                                                                                                             001
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           1            4.      Upon information and belief, Defendant Auerbach is an American musician and record
           2    producer best known as the guitarist and vocalist for The Black Keys, a blues rock band from Akron,
           3    Ohio.
           4            5.      Upon information and belief, Defendant Q Prime is a Tennessee limited liability
           5    company with its principal places of business in Nashville, Tennessee and New York, New York.
           6            6.      Upon information and belief, Defendant Q Prime represents various prominent artists,
           7    including The Black Keys, Red Hot Chili Peppers and Metallica, who provide performance services
           8    across the globe, including Los Angeles County, California.
           9            7.      The true names or capacities, whether individual, corporate or otherwise, of the
      10        Defendants named herein as DOES 1 through 20, inclusive, are unknown to Plaintiff, who therefore
      11        sues said Defendants by such fictitious names. Plaintiff will seek leave of Court to amend this
      12        Complaint and insert the true names and capacities of DOES when they have been ascertained.
      13                8.      Plaintiff is informed and believes and, on that basis alleges that each of the Defendants
      14        designated herein as a “DOE” is legally responsible in some manner for the events and happenings
      15        herein alleged, and that Plaintiff’s damages as alleged herein were proximately caused by DOES.
      16                9.      Plaintiff is informed and believes and, on that basis alleges that each of the fictitiously
      17        named Defendants is responsible in some manner for the occurrences herein alleged, and that Plaintiff’s
      18        damages as herein alleged were actually and proximately caused by their conduct.
      19                10.     Plaintiff is informed and believes and, on that basis alleges that at all times material
      20        hereto, each Defendant has authorized, approved, ratified and/or endorsed the acts of each remaining
      21        Co-Defendant.
      22                                            JURISDICTION AND VENUE
      23                11.     The harms and obligations sued upon were incurred and occurred in the County of Los
      24        Angeles.
      25                12.     Jurisdiction is premised on the fact that the damages suffered by Plaintiff are in excess
      26        of the minimum sum required for jurisdiction in the Superior Court of the State of California.
      27                13.     This Court has personal jurisdiction over Defendants on the grounds that all Defendants
      28        conduct or transact substantial business activities and contract to supply goods and services in this State
Singh,
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Trauben,                                                           2                                           002
LLP                                                             COMPLAINT
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           1    and Defendants have purposefully availed themselves of the jurisdiction of this Court by transacting
           2    business in this State.
           3            14.     Defendants have marketed, promoted and distributed their goods and services in this
           4    State and maintain sufficient minimum contacts with this State and/or sufficiently avails themselves of
           5    the markets in this State through their promotion, sales, distribution and marketing to render the
           6    exercise of jurisdiction over Defendants by this Court permissible.
           7            15.     Venue and jurisdiction are also proper in Los Angeles County, California as a
           8    substantial portion of the transactions, including subject agreement, have occurred in this State and
           9    County.
      10                                  ALLEGATIONS COMMON TO ALL CLAIMS
      11                16.     In or around 2012, Plaintiff began developing the documentary Picture regarding the
      12        storied life of Chester Arthur Burnett p/k/a Howlin’ Wolf, a Chicago blues singer, guitarist and
      13        harmonica player, from Mississippi.
      14                17.     Among others, the Picture featured Defendant Auerbach, Sam Phillips, Jimmy Page,
      15        Kirk Hammett, Bill Wyman, Hubert Sumlin, Taj Mahal, Buddy Guy, Jim Dickinson, Koko Taylor,
      16        Charlie Musselwhite, Barry Goldberg, Jim Dickinson, Honeyboy Edwards, and Sam Lay, including
      17        approximately 60 valuable additional interviews.
      18                18.     Thereafter, in or around late 2012, based in part upon Defendant Auerbach’s prior
      19        participation in an interview for the Picture, Plaintiff and Defendants began discussing Defendant
      20        Auerbach’s interest in becoming further and directly involved with the Picture, including Auerbach’s
      21        interest in assuming the role of Director and Executive Producer of the Picture.
      22                19.     While, at this time, the Picture was in post-production, as explained by Plaintiff,
      23        Auerbach maintained a personal and particularized vision and inspiration for the Picture, and one in
      24        which he desired to see come to fruition.
      25               20.      Defendants immediately expressed interest and excitement towards the prospect of
      26        Auerbach taking control of the project, and, soon thereafter, Plaintiff and Defendant Auerbach entered
      27        into a verbal agreement whereby, in exchange for, among other things, approximately 9% of the profits
      28        derived from the exploitation of the Picture and the credits of Director and Executive Producer,
Singh,
Singh &
Trauben,                                                         3                                         003
LLP                                                           COMPLAINT
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           1    Defendant Auerbach expressly promised and agreed to, among other things, assume and perform in the
           2    roles of Director and Executive Producer of the Picture until its completion, in addition to allowing the
           3    use of Defendant Auerbach’s name and likeness in connection with the marketing and promotion of the
           4    Picture (the “Agreement”).
           5           21.     As an express condition of the parties’ Agreement, Auerbach demanded that, at all
           6    times, he maintain complete and unfettered creative control over the Picture in his sole discretion, and
           7    that Plaintiff readily adhere to all of his directives related to conforming the Picture to his particular
           8    vision, which, upon his assumption of the duties of Directors and Executive Producer, deviated
           9    significantly from the Picture as presently constituted.
      10               22.     In conformance with, and ratification of, the parties’ Agreement, Defendant Auerbach,
      11        in proactively assuming the role of Director and Executive Producer of the Picture, quickly demanded
      12        certain material alterations and vast expansions to the then existing Picture, including, without
      13        limitation, that certain pre-existing interviews be re-shot from scratch, the conducting of numerous
      14        additional interviews, that additional materials and footage be located and gathered from various
      15        locations interspersed throughout the country, the licensing of specific copyrighted photographs, the
      16        retention of a new writer, the drafting of textured story outlines, and the adoption and use of an entirely
      17        new camera and filming format.
      18               23.     Based upon these directives and instructions from Defendant Auerbach in his role as
      19        Director and Executive Producer, Plaintiff performed all of the above tasks and incurred the substantial
      20        corresponding expenses necessary to facilitate Auerbach’s divergent and expansive personal vision for
      21        the Picture.
      22               24.     Ostensibly required to fulfill his personal vision, Defendant Auerbach further demanded
      23        that Plaintiff engage the services of Auerbach’s designated editor and friend, Reid Long (“Long”) in
      24        connection with a litany of various projects. These miscellaneous additional services procured by
      25        Auerbach and at Auerbach’s insistence necessarily encumbered Plaintiff with substantial “editing”,
      26        “story writing” and “research” fees, all of which Auerbach directed Plaintiff to incur without question.
      27               25.     Throughout this protracted process, if, at any time, Plaintiff expressed even a modicum
      28        of discomfort or unease with the significant additional expenditures Auerbach was demanding,
Singh,
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Trauben,                                                           4                                          004
LLP                                                             COMPLAINT
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           1    including with respect to significantly exceeding the Picture’s budget, Auerbach and his team tacitly
           2    made clear that if Auerbach’s personal vision was not realized by virtue of Plaintiff not incurring all the
           3    demanded expenses, Auerbach would consider refusing to see the Picture through to completion as
           4    promised and agreed.
           5           26.     Accordingly, Plaintiff acquiesced to all of Auerbach’s requests and directives, incurring
           6    all costs as necessary for the Picture to realize Auerbach’s express personal vision.
           7           27.     Nonetheless, prior to the completion of the Picture, ostensibly based upon Defendant
           8    Auerbach’s desire to pursue other projects and corresponding scheduling conflicts, Defendant
           9    Auerbach opted to materially breach the parties’ Agreement, failing and/or refusing to complete the
      10        performance of his contractual duties as Director and Executive Producer.
      11               28.     All conditions precedent to the bringing of this action have occurred, been waived or
      12        performed.
                                                               COUNT I
      13
                                                BREACH OF ORAL AGREEMENT
      14                                     (By Plaintiff as Against Defendant Auerbach)
                       29.     Plaintiff repeats and re-alleges each and all of the allegations contained in paragraphs 1
      15
                through 28 inclusive, and incorporates those allegations by reference as though set forth in full.
      16
                       30.     In or around the fourth quarter of 2012, Defendant and Plaintiff entered into the
      17
                Agreement, whereby, in exchange for, among other things, approximately 9% of the Picture’s profits
      18
                and the credits of Director and Executive Producer, Defendant Auerbach expressly promised and
      19
                agreed to, among other things, assume the roles of the Director and Executive Producer of the Picture
      20
                until its completion, in addition to allowing the use of Defendant Auerbach’s name and likeness in the
      21
                marketing and promotion of the Picture.
      22
                       31.     In material and justifiable reliance upon the Agreement, Plaintiff expended significant
      23
                time, effort and resources at Defendant Auerbach’s express direction.
      24
                       32.     Plaintiff performed and fulfilled all of its material obligations pursuant to the
      25
                Agreement, or, in the alternative, any failure of Plaintiff to perform or fulfill its material obligations
      26
                pursuant to the parties’ Agreement is a direct and/or proximate result of Defendant Auerbach’s material
      27
                breaches and/or refusal to, among other things, complete the performance of his contractual obligations.
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LLP                                                            COMPLAINT
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           1            33.     Defendant Auerbach intentionally and materially breached the Agreement by refusing to
           2     complete the performance of his contractual obligations.
           3            34.     As a direct and proximate result of Defendant Auerbach’s material and continuing
           4     breaches of the Agreement, Plaintiff has suffered significant and extensive damages and financial
           5     injury in an amount to be proven at trial, plus prejudgment interest at the statutory rate.
           6                                          COUNT II
                    VIOLATION OF CAL. BUS. & PROF. CODE § 17200 UNFAIR BUSINESS PRACTICES
           7                           (By Plaintiff as Against all Defendants)
           8            35.     Plaintiff repeats and re-alleges each and all of the allegations contained in paragraphs 1
           9     through 34 inclusive, and incorporates those allegations by reference as though set forth in full.
      10                36.     Defendant Auerbach’s conduct constitutes an unfair practice under California Business
      11         & Professions Code sections 17200, et seq., which imposes penalties for “any unlawful, unfair, or
      12         fraudulent business act or practice.”
      13                37.     Under California law, a breach of a contract may form the predicate for a violation of
      14         California Business & Professions Code § 17200 claim where it also constitutes conduct that is
      15         unlawful, or unfair or fraudulent.
      16                38.     Defendant Auerbach, by and through his unfair business practices, have violated section
      17         17200’s “unfair” prong.
      18                39.     Defendant Auerbach has engaged in unfair business practices in violation of California
      19         Business & Professions Code § 17200 and related provisions, as reflected by, among other things:
      20                •       Defendant Auerbach’s intentional failure and refusal to complete the performance of his
      21                        contractual obligations;
      22                •       Defendant Auerbach’s failure and refusal to reimburse Plaintiff’s documented costs
      23                        incurred and expended in material reliance upon Defendant Auerbach’s promises and
      24                        demands, including the parties’ Agreement; and
      25                •       Defendant Auerbach, after assuming the roles of Director and Executive Producer,
      26                        inducing Plaintiff to perform all of the above-referenced tasks while incurring the
      27                        corresponding costs and expenses to facilitate Auerbach’s vision for the Picture, only to
      28                        abandon the entire project and refuse to reimburse the cost and expenses Plaintiff
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Trauben,                                                            6                                           006
LLP                                                              COMPLAINT
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           1                     incurred at his behest.
           2             40.     Defendant Auerbach’s actions, as alleged herein, constitute an unfair business practice,
           3     because they caused Plaintiff injury that is substantial, not outweighed by any countervailing benefits to
           4     consumers or competitors, and could not reasonably have been avoided.
           5             41.     Defendant Auerbach’s conduct constituting unfair business practices, as alleged herein,
           6     was a substantial factor in causing Plaintiff’s injuries, and based on the foregoing, Plaintiff seeks
           7     restitution and other equitable relief to redress Defendant Auerbach’s unfair business practices.
           8                                           COUNT III
                      BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
           9                         (By Plaintiff as Against Defendant Auerbach)
      10                 42.     Plaintiff repeats and re-alleges each and all of the allegations contained in paragraphs 1

      11         through 41 inclusive, and incorporates those allegations by reference as though set forth in full.

      12                 43.     Defendant Auerbach owed a duty to deal both fairly and in good faith with Plaintiff.

      13                 44.     Defendant Auerbach breached the implied covenant of good faith and fair dealing by

      14         unilaterally terminating and then breaching the Agreement to unfairly frustrate and deny Plaintiff’s

      15         right to receive the contractual benefits thereof, to which it is clearly entitled.

      16                 45.     Defendant Auerbach breached and continues to breach the implied covenant of good

      17         faith and fair dealing by refusing to complete his contractual obligations.

      18                 46.     By abandoning his contractual obligations, in addition to attempting to deny any

      19         previous obligations towards the Picture, Defendant Auerbach has further unfairly frustrated the

      20         purpose of the Agreement.

      21                 47.     As a direct and proximate result of Defendant Auerbach’s material breaches of the

      22         Agreement, Plaintiff has been damaged in an amount to be proven at trial, plus prejudgment interest at

      23         the statutory rate.

      24                 48.     Plaintiff fully performed all of its obligations under the Agreement.

      25                                                         COUNT IV
                                                 NEGLIGENT MISREPRESENTATION
      26                                          (By Plaintiff as Against All Defendants)
      27                 49.     Plaintiff repeats and re-alleges each and all of the allegations contained in paragraphs 1

      28         through 48 inclusive, and incorporates those allegations by reference as though set forth in full.
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LLP                                                               COMPLAINT
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           1            50.     All Defendants led Plaintiff to believe that Defendant Auerbach’s professional schedule
           2     permitted the completion of all his assumed contractual obligations pursuant to the Agreement,
           3     including affording Defendant Auerbach sufficient time to direct and produce the Picture to
           4     completion.
           5            51.     Defendants, at all times herein, knew or should have known that these representations as
           6     to Defendant Auerbach’s professional schedule and ability to complete his performance under the
           7     Agreement, were inaccurate.
           8            52.     Defendants made these misrepresentations to induce Plaintiff to repose significant trust
           9     and confidence in Defendants in incurring significant additional costs and expenses in connection with
      10         the production of the Picture at Defendants’ behest and directive.
      11                53.     In reliance upon these material representations, Plaintiff proceeded to perform in
      12         accordance with the Agreement, assumed all of the above-referenced tasks and incurred substantial
      13         expenses at Auerbach’s behest to facilitate Defendant Auerbach’s vision for the Picture.
      14                54.     As a direct and proximate result of Defendants’ negligent misrepresentations, Plaintiff
      15         has suffered significant and extensive damages and financial injury in an amount to be proven at trial,
      16         plus prejudgment interest at the statutory rate.
      17                                                     PRAYER FOR RELIEF
      18                WHEREFORE, based upon the foregoing, Plaintiff Smokestack Lightning, LLC respectfully
      19         requests that this Court enter a final judgment in its favor and as against Defendants Daniel Quine
      20         Auerbach and Q Prime, Inc., as follows:
      21                a.      On all causes of action:
      22                        ii.     For not less than $100,000.00;
      23                        iii.    For all actual, general, special, economic and compensatory damages according
      24                                to proof at trial;
      25                        iv.     For pre-judgment interest on all damages, at the legal rate;
      26                        v.      For costs of suit; and
      27                        vi.     For such other relief as the Court deems just and proper.
      28                b.      On the Second Cause of Action:
Singh,
Singh &
Trauben,                                                               8                                    008
LLP                                                                 COMPLAINT
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           1                1.      That Defendant Auerbach pay statutory damages and provide to Plaintiff any

           2                        other relief available under California Business and Professions Code §§ 17200 e

           3                        seq;
           4                                      DEMAND FOR JURy TRIAL

           5         Plaintiff hereby demands a trial by jury on all issues so triable.

           6   DATED: August 17,2016                                Respectfully Submitted,

           7
                                                                    SINGH, SINGH & TRAUBEN, LLP
                                                                    MICHAEL A. TRAUBEN
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                                                                    BY 4~
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      10
                                                                            Michael A. Trauben
      11
                                                                    Attorneys for Plaintiff
      12                                                            SMOKESTACK LIGHTNING, LLC

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LLP                                                           COMPLAINT
